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                        UNITED STATES COURT OF FEDERAL CLAIMS


 Wazee Street Opportunities Fund IV LP,             Case No. 18-1124
 Douglas Whitley, and Lisa Brown, On Behalf
 of Themselves and All Others Similarly
 Situated,

                 Plaintiffs,

         v.

 THE UNITED STATES OF AMERICA,

                 Defendant.




              PLAINTIFFS’ NOTICE OF PARTIAL VOLUNTARY DISMISSAL

       Pursuant to RCFC 41(a)(1)(A)(i), Plaintiffs hereby voluntarily dismiss Counts IX and XI

of their Second Amended Complaint for the reasons stated in their response to Defendant’s Motion

to Dismiss (Dkt. 36).




 Dated: November 2, 2023                     Respectfully Submitted,

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     Case 1:18-cv-01124-MMS Document 39 Filed 11/02/23 Page 2 of 2




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